Case 1:OO-cv-01217-.]DT-STA Document 91 Filed 08/16/05 Page 1 of 2 Page|D 104

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IN THE UNITED STATES DISTRICT COURT 05 ‘9}' §
FoR THE WESTERN I)ISTRICT oF TENNESSEE 40@/ \

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UNITED STATES oF AMERICA, /;/ ;;§&:o-»€:'®{// -- 3
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TENNESSEE VALLEY AUTHORITY, '“@O%~

Plaimiff,
vs. No. 00-1217 T/An

STEAM MILL FERRY PARTNERS, et al.,

Defendants.

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ORDER SETTING TELEPHONE SCHEDULING CONFERENCE

 

Pursuant to an Order of Reference from United States District Judge J ames D. Todd, a
Settlement Conference was held on June 10, 2005 and July 22, 2005.

The Court Will hold a telephone conference on MONDAY, AUGUST 29, 2005 at 2:30
p.m. regarding the settlement conference Mr. Sma]l, Plaintiff’s counsel, shall initiate the
telephone conference call and insure that all parties are present prior to dialing the chambers of
the Court in Jackson, Tennessee at 731-421-9273.

IT IS SO ORDERED. <:S/ r'/Z;;WM /`Z J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: @;J/' /é, 2003/

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with Rule 58 and,'or_?Q (a} FHCP on __i'ZL :l/

   

UNITED STATES DSTRICT oURT - WETRNDISTCRIT oF 'NN'ESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 91 in
case 1:00-CV-012]7 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

